
PER CURIAM.
Ardyn Miller appeals from the injunction for protection against repeat violence that was entered against him and in favor of Twyla Hall on behalf of her two minor children. The only issue before this court is whether the evidence presented at the evidentiary hearing on Hall’s petition was sufficient to support entry of the injunction. Therefore, this court has not considered the various documents and other non-record “evidence” submitted directly to this court by either party. Having thoroughly and carefully reviewed the transcript of the evidentiary hearing, we hold that the trial court’s decision to enter the requested injunction was supported by the evidence. Accordingly, we affirm.
Affirmed.
NORTHCUTT, STRINGER, and VILLANTI, JJ., Concur.
